      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 1 of 35


1

2

3                           UNITED STATES DISTRICT COURT

4                          EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,                   No. 2:15-cr-00190-GEB
7                   Plaintiff,
8           v.                                   AMENDED PROPOSED CLOSING JURY
                                                 INSTRUCTIONS
9    GEORGE LARSEN, et. al.,
10                  Defendants.
11

12                The proposed closing jury instructions docketed as ECF

13   No.    240   are   amended    in   accordance      with    the    United   States’s

14   Proposed Jury Instructions (Superseding) docketed as ECF No. 283.

15   The amended proposed jury instructions are attached.

16                The   words     “falsely   making     bonds    and    obligations   of

17   certain lending agencies or” have been deleted from lines 14 and

18   15 of the United States’s proposed jury instruction on page 44 to

19   reflect consistency with its deletion of those words elsewhere in

20   this    instruction.       This    change     is     reflected       in    attached

21   Instruction No. 26.

22                The bracketed optional language shall be clarified by a

23   party or the parties as soon as feasible.

24                Trial will commence at 9:00 a.m. on November 28, 2017.

25                Dated:   November 21, 2017

26
27

28
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 2 of 35


1                                INSTRUCTION NO. 1

2               Members of the jury, now that you have heard all the

3    evidence, it is my duty to instruct you on the law that applies

4    to this case. Each of you now possesses a copy of these

5    instructions that you may take to the jury room to consult if you

6    desire.

7               It is your duty to weigh and to evaluate all the

8    evidence received in the case and, in that process, to decide the

9    facts. It is also your duty to apply the law as I give it to you

10   to the facts as you find them, whether you agree with the law or

11   not. You must decide the case solely on the evidence and the law

12   and must not be influenced by any personal likes or dislikes,

13   opinions, prejudices, or sympathy. You will recall that you took

14   an oath promising to do so at the beginning of the case.

15              You must follow all these instructions and not single

16   out some and ignore others; they are all important. Please do not

17   read into these instructions or into anything I may have said or

18   done any suggestion as to what verdict you should return—that is

19   a matter entirely up to you.

20
21

22

23

24

25

26
27

28
                                          1
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 3 of 35


1                                INSTRUCTION NO. 2

2               The indictment is not evidence. The defendants have

3    pleaded not guilty to the charges. The defendants are presumed to

4    be innocent unless and until the United States proves the

5    defendants guilty beyond a reasonable doubt. In addition, the

6    defendants do not have to testify or present any evidence to

7    prove innocence. The United States has the burden of proving

8    every element of the charges beyond a reasonable doubt.

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          2
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 4 of 35


1                                INSTRUCTION NO. 3

2               A defendant in a criminal case has a constitutional

3    right not to testify. You may not draw any inference of any kind

4    from the fact that any of the defendants did not testify.

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          3
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 5 of 35


1                                INSTRUCTION NO. 4

2               Defendant [NAME] has testified. You should treat this

3    testimony just as you would the testimony of any other witness.

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          4
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 6 of 35


1                                INSTRUCTION NO. 5

2               Proof beyond a reasonable doubt is proof that leaves

3    you firmly convinced the defendant is guilty. It is not required

4    that the United States prove guilt beyond all possible doubt.

5               A reasonable doubt is a doubt based upon reason and

6    common sense and is not based purely on speculation. It may arise

7    from a careful and impartial consideration of all the evidence,

8    or from lack of evidence.

9               If after a careful and impartial consideration of all

10   the evidence, you are not convinced beyond a reasonable doubt

11   that the defendants are guilty, it is your duty to find the

12   defendants not guilty. On the other hand, if after a careful and

13   impartial consideration of all the evidence, you are convinced

14   beyond a reasonable doubt that the defendants are guilty, it is

15   your duty to find the defendants guilty.

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          5
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 7 of 35


1                                INSTRUCTION NO. 6

2               The evidence you are to consider in deciding what the

3    facts are consists of:

4               (1) the sworn testimony of any witness;

5               (2) the exhibits received in evidence; and

6               (3) any facts to which the parties have agreed.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          6
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 8 of 35


1                                INSTRUCTION NO. 7

2               In reaching your verdict you may consider only the

3    testimony and exhibits received in evidence. The following things

4    are not evidence and you may not consider them in deciding what

5    the facts are:

6               1.    Questions, statements, objections, and arguments

7    by the lawyers are not evidence. The lawyers are not witnesses.

8    Although you must consider a lawyer’s questions to understand the

9    answers of a witness, the lawyer’s questions are not evidence.

10   Similarly, what the lawyers and parties have said in their

11   opening statements, closing arguments and at other times is

12   intended to help you interpret the evidence, but it is not

13   evidence. If the facts as you remember them differ from the way

14   the lawyers state them, your memory of them controls.

15              2.    Any testimony that I have excluded, stricken, or

16   instructed you to disregard is not evidence. [In addition, some

17   evidence was received only for a limited purpose; when I have

18   instructed you to consider certain evidence in a limited way, you

19   must do so.]

20              3.    Anything you may have seen or heard when the court
21   was not in session is not evidence. You are to decide the case

22   solely on the evidence received at the trial.

23

24

25

26
27

28
                                          7
      Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 9 of 35


1                                INSTRUCTION NO. 8

2               Evidence may be direct or circumstantial. Direct

3    evidence is direct proof of a fact, such as testimony by a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial evidence is indirect evidence, that is, it is

6    proof of one or more facts from which you can find another fact.

7               You are to consider both direct and circumstantial

8    evidence. Either can be used to prove any fact. The law makes no

9    distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          8
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 10 of 35


1                                INSTRUCTION NO. 9

2              In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe. You may believe everything a witness says, or part of

5    it, or none of it.

6              In considering the testimony of any witness, you may

7    take into account:

8              (1) the witness’s opportunity and ability to see or

9                   hear or know the things testified to;

10             (2) the witness’s memory;

11             (3) the witness’s manner while testifying;

12             (4) the witness’s interest in the outcome of the case,

13                  if any;

14             (5) the witness’s bias or prejudice, if any;

15             (6) whether other evidence contradicted the witness’s

16                  testimony;

17             (7) the reasonableness of the witness’s testimony in

18                  light of all the evidence; and

19             (8) any other factors that bear on believability.

20
21             The weight of the evidence as to a fact does not

22   necessarily depend on the number of witnesses who testify. What

23   is important is how believable the witnesses were, and how much

24   weight you think their testimony deserves.

25

26
27

28
                                         9
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 11 of 35


1                               INSTRUCTION NO. 10

2              You are here only to determine whether the defendants

3    are guilty or not guilty of the charges in the indictment. The

4    defendants are not on trial for any conduct or offense not

5    charged in the indictment.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         10
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 12 of 35


1                               INSTRUCTION NO. 11

2              A separate crime is charged against one or more of the

3    defendants in each count. The charges have been joined for trial.

4    You must decide the case of each defendant on each crime charged

5    against that defendant separately. Your verdict on any count as

6    to any defendant should not control your verdict on any other

7    count or as to any other defendant.

8              All the instructions apply to each defendant and to

9    each count unless a specific instruction states that it applies

10   only to a specific count.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         11
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 13 of 35


1                               INSTRUCTION NO. 12

2              Although the defendants are being tried together, you

3    must give separate consideration to each defendant. In doing so,

4    you must determine which evidence in the case applies to each

5    defendant, disregarding any evidence admitted solely against some

6    other defendants. The fact that you may find one of the

7    defendants guilty or not guilty should not control your verdict

8    as to any other defendants.

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         12
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 14 of 35


1                               INSTRUCTION NO. 13

2              The indictment charges that a crime was committed “on

3    or about” a certain date. The United States does not have to

4    prove that the crime occurred on an exact date. The United States

5    only has to prove beyond a reasonable doubt that the crime was

6    committed on a date reasonably close to the date alleged.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         13
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 15 of 35


1                               INSTRUCTION NO. 14

2              You have heard testimony from [name of witness], a

3    witness who received immunity. That testimony was given in

4    exchange for a promise by the United States that the testimony

5    will not be used in any case against the witness. For this

6    reason, in evaluating the testimony of [name of witness], you

7    should consider the extent to which or whether [his] [her]

8    testimony may have been influenced by this factor. In addition,

9    you should examine the testimony of [name of witness] with

10   greater caution than that of other witnesses.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         14
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 16 of 35


1                               INSTRUCTION NO. 15

2              You have heard testimony from [name of witness], who

3    pleaded guilty to a crime arising out of the same events for

4    which the defendants are on trial. This guilty plea is not

5    evidence against the defendants, and you may consider it only in

6    determining this witness’s believability.

7              For this reason, in evaluating the testimony of [name

8    of witness], you should consider the extent to which or whether

9    [his] [her] testimony may have been influenced by this factor. In

10   addition, you should examine the testimony of [name of witness]

11   with greater caution than that of other witnesses.

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         15
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 17 of 35


1                               INSTRUCTION NO. 16

2              During the trial, certain charts and summaries were

3    shown to you in order to help explain the evidence in the case.

4    These charts and summaries were not admitted in evidence and will

5    not go into the jury room with you. They are not themselves

6    evidence or proof of any facts. If they do not correctly reflect

7    the facts or figures shown by the evidence in the case, you

8    should disregard these charts and summaries and determine the

9    facts from the underlying evidence.

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         16
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 18 of 35


1                               INSTRUCTION NO. 17

2              Certain charts and summaries have been admitted in

3    evidence. Charts and summaries are only as good as the underlying

4    supporting material. You should, therefore, give them only such

5    weight as you think the underlying material deserves.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         17
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 19 of 35


1                               INSTRUCTION NO. 18

2              The defendants are charged in Count One of the

3    indictment with conspiring to falsely make lending association

4    writings and to commit bank fraud, in violation of Section 371 of

5    Title 18 of the United States Code. In order for each of the

6    defendants to be found guilty of that charge, the government must

7    prove each of the following elements beyond a reasonable doubt:

8              First, beginning on or about April 22, 2010, and ending

9    on or about November 18, 2011, there was an agreement between two

10   or more persons to commit at least one crime as charged in the

11   indictment—to wit, to falsely make lending association writings

12   or to commit bank fraud;

13             Second, each of the defendants became members of the

14   conspiracy knowing of at least one of its objects and intending

15   to help accomplish it; and

16             Third, one of the members of the conspiracy performed

17   at least one overt act on or after April 22, 2010, for the

18   purpose of carrying out the conspiracy.

19             A conspiracy is a kind of criminal partnership—an

20   agreement of two or more persons to commit one or more crimes.
21   The crime of conspiracy is the agreement to do something

22   unlawful; it does not matter whether the crime agreed upon was

23   committed.

24             For a conspiracy to have existed, it is not necessary

25   that the conspirators made a formal agreement or that they agreed

26   on every detail of the conspiracy. It is not enough, however,
27   that they simply met, discussed matters of common interest, acted

28   in similar ways, or perhaps helped one another. You must find
                                     18
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 20 of 35


1    that there was a plan to commit at least one of the crimes

2    alleged in the indictment as an object of the conspiracy with all

3    of you agreeing as to the particular crime which the conspirators

4    agreed to commit.

5              One becomes a member of a conspiracy by willfully

6    participating in the unlawful plan with the intent to advance or

7    further some object or purpose of the conspiracy, even though the

8    person does not have full knowledge of all the details of the

9    conspiracy. Furthermore, one who willfully joins an existing

10   conspiracy is as responsible for it as the originators. On the

11   other hand, one who has no knowledge of a conspiracy, but happens

12   to act in a way which furthers some object or purpose of the

13   conspiracy, does not thereby become a conspirator. Similarly, a

14   person does not become a conspirator merely by associating with

15   one or more persons who are conspirators, nor merely by knowing

16   that a conspiracy exists.

17             An overt act does not itself have to be unlawful. A

18   lawful act may be an element of a conspiracy if it was done for

19   the purpose of carrying out the conspiracy. The government is not

20   required to prove that the defendant personally did one of the
21   overt acts.

22

23

24

25

26
27

28
                                         19
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 21 of 35


1                               INSTRUCTION NO. 19

2              A conspiracy may continue for a long period of time and

3    may include the performance of many transactions. It is not

4    necessary that all members of the conspiracy join it at the same

5    time, and one may become a member of a conspiracy without full

6    knowledge of all the details of the unlawful scheme or the names,

7    identities, or locations of all of the other members.

8              Even though a defendant did not directly conspire with

9    the other defendants or other conspirators in the overall scheme,

10   the defendant has, in effect, agreed to participate in the

11   conspiracy if the government proves each of the following beyond

12   a reasonable doubt that:

13             (1) the defendant directly conspired with one or more

14                  conspirators to carry out at least one of the

15                  objects of the conspiracy;

16             (2) the defendant knew or had reason to know that other

17                  conspirators were involved with those with whom the

18                  defendant directly conspired; and

19             (3) the defendant had reason to believe that whatever

20                  benefits the defendant might get from the
21                  conspiracy were probably dependent upon the success

22                  of the entire venture.

23

24             It is not a defense that a person’s participation in a

25   conspiracy was minor or for a short period of time.

26
27

28
                                         20
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 22 of 35


1                               INSTRUCTION NO. 20

2              Because one of the objects of the conspiracy charged in

3    Count One is falsely making a writing of certain lending

4    associations, in violation of Section 493 of Title 18 of the

5    United States Code, I will instruct you on the elements of

6    falsely making a writing of certain lending associations.

7    However, the United States is not required to prove any element

8    of falsely making a writing of certain lending associations

9    unless I have included that element in the conspiracy instruction

10   I have already provided to you. Nor is the United States required

11   to prove that falsely making a writing of certain lending

12   associations actually occurred. The elements of falsely making a

13   writing of certain lending associations are:

14             First, a person falsely made, forged, counterfeited, or

15   altered a note, obligation, instrument or writing; and

16             Second, said document was made in imitation or

17   purporting to be in imitation of a note, obligation, instrument

18   or writing of any land bank, intermediate credit bank, insured

19   credit union, bank for cooperatives or any lending, mortgage,

20   insurance or savings and loan corporation or association
21   authorized or acting under the laws of the United States.

22             A bank that is insured through the federal deposit

23   insurance corporation is a bank that is authorized or acting

24   under the laws of the United States.

25

26
27

28
                                         21
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 23 of 35


1                               INSTRUCTION NO. 21

2                Defendant George Larsen is charged in Counts Nineteen,

3    Twenty, Twenty-Three, Twenty-Four, and Thirty-Three; and

4    defendant Larry Todt is charged in Count Thirty-One of the

5    indictment with bank fraud in violation of Section 1344(1) of

6    Title 18 of the United States Code. In order for each of the

7    defendants to be found guilty of that charge, the government must

8    prove each of the following beyond a reasonable doubt:

9                First, each of the defendants knowingly executed, or

10   attempted to execute, a scheme to defraud a financial institution

11   as to a material matter;

12               Second, each of the defendants did so with the intent

13   to defraud the financial institution; and

14               Third, the financial institution was insured by the

15   Federal Deposit Insurance Corporation or was a mortgage lending

16   business.

17               The phrase “scheme to defraud” means any deliberate

18   plan of action or course of conduct by which someone intends to

19   deceive, cheat, or deprive a financial institution of something

20   of value. It is not necessary for the government to prove that a
21   financial institution was the only or sole victim of the scheme

22   to defraud. It is also not necessary for the government to prove

23   that the defendant was actually successful in defrauding any

24   financial institution. Finally, it is not necessary for the

25   government to prove that any financial institution lost any money

26   or property as a result of the scheme to defraud.
27               An intent to defraud is an intent to deceive or cheat.

28
                                         22
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 24 of 35


1              An attempt to commit bank fraud requires the intent to

2    commit bank fraud, as described above, as well as a substantial

3    step by that defendant toward committing bank fraud. Mere

4    preparation is not a substantial step toward committing the

5    crime. To constitute a substantial step, a defendant’s act or

6    actions must demonstrate that the crime will take place unless

7    interrupted by independent circumstances.

8              A mortgage lending business means an organization which

9    finances or refinances any debt secured by an interest in real

10   estate, including private mortgage companies and any subsidiaries

11   of such organizations, and whose activities affect interstate or

12   foreign commerce.

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         23
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 25 of 35


1                               INSTRUCTION NO. 22

2              Whether the financial institution acted prudently is

3    irrelevant to whether the defendant acted with the intent to

4    defraud that financial institution.

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         24
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 26 of 35


1                               INSTRUCTION NO. 23

2              If you decide that the defendant was a member of a

3    scheme to defraud and that the defendant had the intent to

4    defraud, the defendant may be responsible for other co-schemers’

5    actions during the course of and in furtherance of the scheme,

6    even if the defendant did not know what they said or did.

7              For the defendant to be guilty of an offense committed

8    by a co-schemer in furtherance of the scheme, the offense must be

9    one that the defendant could reasonably foresee as a necessary

10   and natural consequence of the scheme to defraud.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         25
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 27 of 35


1                               INSTRUCTION NO. 24

2              An act is done knowingly if the defendant is aware of

3    the act and does not act or fail to act through ignorance,

4    mistake, or accident. You may consider evidence of the

5    defendant’s words, acts, or omissions, along with all the other

6    evidence, in deciding whether the defendant acted knowingly.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         26
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 28 of 35


1                               INSTRUCTION NO. 25

2              You may find that a defendant acted knowingly if you

3    find beyond a reasonable doubt that a defendant:

4              1. Was aware of a high probability that the recorded

5    documents prepared by or signed by, or caused to be prepared by

6    the defendant contained false statements, and

7              2. Deliberately avoided learning the truth.

8              You may not find such knowledge, however, if you find

9    that the defendant actually believed that the recorded documents

10   did not contain false statements or if you find that the

11   defendant was simply careless.

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         27
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 29 of 35


1                               INSTRUCTION NO. 26

2              A defendant may be found guilty of bank fraud, in

3    violation of Title 18, United States Code Section 1344(1), even

4    if the defendant personally did not commit the act or acts

5    constituting the crime but aided and abetted in its commission.

6    To prove a defendant guilty of bank fraud by aiding and abetting,

7    the United States must prove each of the following beyond a

8    reasonable doubt:

9              First, bank fraud was committed by someone;

10             Second, the defendant aided, counseled, commanded,

11   induced, or procured that person with respect to at least one

12   element of bank fraud;

13             Third, the defendant acted with the intent to

14   facilitate bank fraud; and

15             Fourth, the defendant acted before the crime was

16   completed.

17             It is not enough that the defendant merely associated

18   with the person committing the crime, or unknowingly or

19   unintentionally did things that were helpful to that person, or

20   was present at the scene of the crime. The evidence must show
21   beyond a reasonable doubt that the defendant acted with the

22   knowledge and intention of helping that person commit bank fraud.

23             A defendant acts with the intent to facilitate the

24   crime when the defendant actively participates in a criminal

25   venture with advance knowledge of the crime and having acquired

26   that knowledge when the defendant still had a realistic
27   opportunity to withdraw from the crime.

28
                                         28
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 30 of 35


1              The United States is not required to prove precisely

2    which defendant actually committed the crime and which defendant

3    aided and abetted.

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         29
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 31 of 35


1                               INSTRUCTION NO. 27

2              When you begin your deliberations, elect one member of

3    the jury as your presiding juror who will preside over the

4    deliberations and speak for you here in court.

5              You will then discuss the case with your fellow jurors

6    to reach agreement if you can do so. Your verdict, whether guilty

7    or not guilty, must be unanimous.

8              Each of you must decide the case for yourself, but you

9    should do so only after you have considered all the evidence,

10   discussed it fully with the other jurors, and listened to the

11   views of your fellow jurors.

12             Do not be afraid to change your opinion if the

13   discussion persuades you that you should. But do not come to a

14   decision simply because other jurors think it is right.

15             It is important that you attempt to reach a unanimous

16   verdict but, of course, only if each of you can do so after

17   having made your own conscientious decision. Do not change an

18   honest belief about the weight and effect of the evidence simply

19   to reach a verdict.

20
21

22

23

24

25

26
27

28
                                         30
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 32 of 35


1                               INSTRUCTION NO. 28

2              Some of you have taken notes during the trial. Whether

3    or not you took notes, you should rely on your own memory of what

4    was said. Notes are only to assist your memory. You should not be

5    overly influenced by your notes or those of your fellow jurors.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         31
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 33 of 35


1                               INSTRUCTION NO. 29

2              The punishment provided by law for this crime is for

3    the court to decide. You may not consider punishment in deciding

4    whether the United States has proved its case against the

5    defendant beyond a reasonable doubt.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         32
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 34 of 35


1                               INSTRUCTION NO. 30

2              A verdict form has been prepared for you. After you

3    have reached unanimous agreement on a verdict, your foreperson

4    should complete the verdict form according to your deliberations,

5    sign and date it, and advise the court security officer that you

6    are ready to return to the courtroom.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         33
     Case 2:15-cr-00190-KJM Document 294 Filed 11/22/17 Page 35 of 35


1                               INSTRUCTION NO. 31

2              If it becomes necessary during your deliberations to

3    communicate with me, you may send a note through the clerk or

4    court security officer, signed by any one or more of you. No

5    member of the jury should ever attempt to communicate with me

6    except by a signed writing, and I will respond to the jury

7    concerning the case only in writing or here in open court. If you

8    send out a question, I will consult with the lawyers before

9    answering it, which may take some time. You may continue your

10   deliberations while waiting for the answer to any question. You

11   are not to tell anyone—including me—how the jury stands,

12   numerically or otherwise, on any question submitted to you,

13   including the question of the guilt of the defendant, until after

14   you have reached a unanimous verdict or have been discharged.

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         34
